Case 1:14-cr-00089-TSK-MJA Document 656 Filed 12/29/15 Page 1 of 4 PageID #: 2314



                    IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF WEST VIRGINIA


  UNITED STATES OF AMERICA,

                   Plaintiff,

        v.                                    CRIMINAL NO. 1:14CR89-3
                                                   (Judge Keeley)


  RAHEEM CUFFEE,

                   Defendant.

            ORDER ACCEPTING AND ADOPTING MAGISTRATE JUDGE'S
         REPORT & RECOMMENDATION CONCERNING PLEA OF GUILTY IN
     FELONY CASE (DKT. NO. 649) AND SCHEDULING SENTENCING HEARING

        On December 11, 2015, the defendant, Raheem Cuffee (“Cuffee”),

  appeared before United States Magistrate Judge Michael J. Aloi and

  moved for permission to enter a plea of GUILTY to Count Thirty-Five

  of the Indictment. After Cuffee stated that he understood that the

  magistrate    judge   is   not    a    United   States   District   Judge,     he

  consented to tendering his plea before the magistrate judge.

  Previously,    this   Court      had   referred   the    guilty   plea   to   the

  magistrate judge for the purposes of administering the allocution

  pursuant to Federal Rule of Criminal Procedure 11, making a finding

  as to whether the plea was knowingly and voluntarily entered, and

  recommending to this Court whether the plea should be accepted.

        Based upon Cuffee’s statements during the plea hearing and the

  testimony of Sergeant John Rogers, the magistrate judge found that

  Cuffee was competent to enter a plea, that the plea was freely and

  voluntarily given, that he was aware of the nature of the charges
Case 1:14-cr-00089-TSK-MJA Document 656 Filed 12/29/15 Page 2 of 4 PageID #: 2315



  USA v. RAHEEM CUFFEE                                            1:14CR89-3

           ORDER ACCEPTING AND ADOPTING MAGISTRATE JUDGE'S
       REPORT AND RECOMMENDATION CONCERNING PLEA OF GUILTY IN
    FELONY CASE (DKT. NO.649) AND SCHEDULING SENTENCING HEARING

  against him and the consequences of his plea, and that a factual

  basis existed for the tendered plea. On December 14, 2015, the

  magistrate judge entered a Report and Recommendation Concerning

  Plea of Guilty in Felony Case (“R&R”) (dkt. no. 649) finding a

  factual basis for the plea and recommending that this Court accept

  Cuffee’s plea of guilty to Count Thirty-Five of the Indictment.

        The magistrate judge also directed the parties to file any

  written objections to the R&R within fourteen (14) days after

  service of the R&R. He further advised that failure to file

  objections would result in a waiver of the right to appeal from a

  judgment of this Court based on the R&R. The parties did not file

  any objections to the R&R.

        Accordingly, this Court ADOPTS the magistrate judge’s R&R,

  ACCEPTS Cuffee’s guilty plea, and ADJUGES him GUILTY of the crime

  charged in Count Thirty-Five of the Indictment.

        Pursuant to Fed. R. Crim. P. 11(e)(2) and U.S.S.G. § 6B1.1(c),

  the Court DEFERS acceptance of the proposed plea agreement until it

  has received and reviewed the presentence report prepared in this

  matter.




                                       2
Case 1:14-cr-00089-TSK-MJA Document 656 Filed 12/29/15 Page 3 of 4 PageID #: 2316



  USA v. RAHEEM CUFFEE                                              1:14CR89-3

           ORDER ACCEPTING AND ADOPTING MAGISTRATE JUDGE'S
       REPORT AND RECOMMENDATION CONCERNING PLEA OF GUILTY IN
    FELONY CASE (DKT. NO.649) AND SCHEDULING SENTENCING HEARING

        Pursuant to U.S.S.G. § 6A1 et seq., the Court ORDERS as

  follows:

        1.    The Probation Officer shall undertake a presentence

  investigation of RAHEEM CUFFEE, and prepare a presentence report

  for the Court;

        2.    The Government and Cuffee are to provide their versions

  of the offense to the probation officer by January 12, 2016;

        3.    The presentence report is to be disclosed to Cuffee,

  defense counsel, and the United States on or before February 29,

  2016; however, the Probation Officer is not to disclose the

  sentencing recommendations made pursuant to Fed. R. Crim. P.

  32(e)(3);

        4.    Counsel may file written objections to the presentence

  report on or before March 14, 2016;

        5.    The Office of Probation shall submit the presentence

  report with addendum to the Court on or before March 28, 2016; and

        6.    Counsel may file any written sentencing statements and

  motions for departure from the Sentencing Guidelines, including the

  factual    basis   from   the   statements   or   motions,   on   or   before

  April 11, 2016.


                                       3
Case 1:14-cr-00089-TSK-MJA Document 656 Filed 12/29/15 Page 4 of 4 PageID #: 2317



  USA v. RAHEEM CUFFEE                                            1:14CR89-3

           ORDER ACCEPTING AND ADOPTING MAGISTRATE JUDGE'S
       REPORT AND RECOMMENDATION CONCERNING PLEA OF GUILTY IN
    FELONY CASE (DKT. NO.649) AND SCHEDULING SENTENCING HEARING

        The magistrate judge remanded Cuffee to the custody of the

  United States Marshal Service.

        The   Court   will   conduct    the   sentencing   hearing   for   the

  defendant on Friday, April 29, 2016 at 1:30 P.M. at the Clarksburg,

  West Virginia point of holding court.

        It is so ORDERED.

        The Clerk is directed to transmit copies of this Order to

  counsel of record, the defendant and all appropriate agencies.

  DATED: December 29, 2015


                                       /s/ Irene M. Keeley
                                       IRENE M. KEELEY
                                       UNITED STATES DISTRICT JUDGE




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